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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                     )
                                             )
               v.                            )       Criminal No.    17-cr-10269-WGY
                                             )
REGINALD ABRAHAM,                            )
                                             )
               Defendant                     )


GOVERNMENT’S MEMORANDUM OF LAW REGARDING AGGRAVATING ROLE
                 SENTENCING ENHANCEMENT

       The government understands this Court’s practice to put guideline sentencing

enhancements before the jury to be proven beyond a reasonable doubt.      The government,

however, objects to this procedure for proving a sentencing enhancement.     The government will

be seeking an aggravating role sentencing enhancement under U.S.S.G. § 3B1.1 in this case

because the defendant was the leader and organizer of other participants in his sex-trafficking

operation, including four of the victims who served as “bottoms” in his operation. Because the

aggravating role sentencing enhancement does not increase the statutory maximum sentence for

the charged crime, 18 U.S.C. § 1591, the enhancement must only be proven by a preponderance

of evidence at sentencing. See, e.g., United States v. Burgos–Figueroa, 778 F.3d 319, 320 (1st

Cir. 2015) (“[A] sentencing enhancement must be supported by a preponderance of the

evidence.”) (citation omitted); see also United States v. McCormick, 773 F.3d 357, 359 (1st Cir.

2014) (“The government has the burden of proving the propriety of an upward role-in-the-

offense adjustment.   It must carry this burden by a preponderance of the evidence.”) (citation

omitted). Based on this binding First Circuit precedent, the government objects to the inclusion


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of a question on the verdict form regarding the role enhancement.

       Notwithstanding the above, and without waiving its objection, if the Court determines

that a jury verdict form question regarding a role enhancement is appropriate, the government

requests that the question be applicable to any guilty finding by the jury for any count, rather

than solely a guilty finding as to the count involving J.N. The defendant should receive an

aggravating role enhancement based not only on his organizing and leadership of the men who

took turns gang raping and beating J.N., but also because he used E.S., T.B., K.G., and J.N. as

“bottoms,” to assist him in promoting and furthering his sex-trafficking operations. Because

these women undertook “bottom” activities, which the defendant organized and led, they are not

only victims, but participants within the meaning of the Sentencing Guidelines.

       To be eligible for an enhancement for role in the offense, the Commentary to the

Guidelines states: “[t]o qualify for an adjustment under this section, the defendant must have

been the organizer, leader, manager, or supervisor of one or more other participants.”    U.S.S.G.

§ 3B1.1 app. n.2.   “A ‘participant’ is a person who is criminally responsible for the commission

of the offense, but need not have been convicted.” Id. at app. n.1.    Further, the Commentary

addressing sentencing for violations of 18 U.S.C. § 1591, the charged statute, states: “For the

purposes of § 3B1.1 (Aggravating Role), a victim, as defined in this guideline, is considered a

participant only if that victim assisted in the promoting of a commercial sex act or prohibited

sexual conduct in respect to another victim.” Id. § 3G1.1 app. n.3.     The Commentary

specifically contemplates victims who may also be participants based on their promotion of

commercial sex acts.

       In this case, the government has presented evidence that E.S. posted prostitution

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advertisements on Backpage.com and taught T.B. how to be a “bottom” in the defendant’s

operation. T.B. served as a “bottom,” and in that capacity, she posted advertisements on

Backpage.com, activated cell phones connected to those advertisements, booked hotels for

prostitution dates, drove other victims to hotels to engage in commercial sex, and doled out drug

servings to the other victims as directed by the defendant.   K.G. testified that she drove other

women to prostitution dates and opened a checking account for the defendant to pay for hotels

used for those dates. J.N. testified that she also doled out drug servings, booked hotel rooms,

and picked out clothing for the other victims to wear.   Through their “bottom” activities, these

victims promoted commercial sex acts at the defendant’s direction.     Further, all the victims

testified that as “bottoms,” they were responsible for informing the defendant when other victims

violated his rules.   This responsibility, imposed on the “bottoms” through fear of physical

violence, threats, and coercion, further contributed to the atmosphere of fear necessary for the

defendant to sustain his sex-trafficking operations.

        Appellate courts have recognized that a trafficking victim who nevertheless assists a

trafficker with respect to other victims may be considered a “participant” for purposes of a

sentencing enhancement under U.S.S.G. § 3B1.1. See, e.g., United States v. Smith, 719 F.3d

1120, 1126 (9th Cir. 2013) (affirming imposition of two-level enhancement under § 3B1.1(c)

where there was “ample evidence” that defendant assigned his “‘bottom bitch’ to groom [another

victim] for her prostitution responsibilities and that [she] undertook a number of steps in doing

so;” it was “immaterial” that the bottom “did not herself commit the same underlying offense as

[the defendant], so long as she was a knowing accessory to his crime”); United States v. Britton,

567 F. App’x 158, 161 (3d Cir. 2014) (holding that the defendant’s “bottom bitch” qualified “as

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a ‘participant’ led or organized by [the defendant] because she assisted in promoting prohibited

sexual conduct with respect to other victims”); United States v. Scott, 529 F.3d 1290, 1304 (10th

Cir. 2008) (holding that one of the defendant’s prostitutes qualified as a “participant” under

§ 3B1.1 because she “aided [the defendant] in transporting [another victim] to Texas by

encouraging [that victim] to join them in the vehicle and by reassuring her of the purportedly

benign purposes of the trip”).

       For these reasons, the defendant should receive an aggravating role sentencing

enhancement under § 3B1.1 for his leadership and organizing of these “bottoms” and of the men

who gang raped and beat J.N.     The government will seek this enhancement at sentencing and

objects to the inclusion of a jury verdict question regarding this enhancement.   Should the Court

find a jury verdict form question appropriate, that question should be applicable to any guilty

finding by the jury for any count.



                                                     Respectfully submitted,

                                                     Andrew E. Lelling
                                                     United States Attorney

                                              By: /s/ Stephen W. Hassink
                                                  Leah B. Foley
                                                  Stephen W. Hassink
                                                  Assistant U.S. Attorneys
Date: July 23, 2019




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                                  CERTIFICATE OF SERVICE


       I hereby certify that this document filed through the ECF system will be sent electronically

to the registered participants as identified on the Notice of Electronic Filing (NEF).

                                              /s/ Stephen W. Hassink
                                              Stephen W. Hassink
                                              Assistant United States Attorney
Date: July 23, 2019




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